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Entered: May 12th, 2023
Signed: May 12th, 2023

SO ORDERED




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF MARYLAND
                                              (Baltimore Division)

         In re:                                           *

         KALI COURT, LLC,                                 *      Case No. 23-13178 MMH

                   Debtor.                                *      (Chapter 11, Subchapter V)

         *         *         *      *      *       *      *      *       *      *      *       *      *
                          ORDER AUTHORIZING INTERIM USE OF CASH COLLATERAL,
                                  INCLUDING THE PAYMENT OF WAGES

                   Upon consideration of the Debtor’s Emergency Motion for Interim Use of Cash Collateral,

         including the Payment of Wages, it is by the United States Bankruptcy Court for the District of

         Maryland:

                   ORDERED that:

                   1.        The Debtor’s Motion is hereby granted;

                   2.        To avoid immediate and irreparable harm to this bankruptcy estate pending a final

         hearing, the Debtor is authorized to use cash collateral to pay reasonable and ordinary operating

         expenses in conformity with and not to exceed the amounts set forth on the budget attached to the

         Debtor’s Notice of Exhibit 3 – Three Month Budget in Support of the Debtor’s Emergency Motion




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for Interim Use of Cash Collateral, Including the Payment of Wages filed in this bankruptcy

proceeding at Docket 16 (the “Budget”);

          3.        Debtor’s Motion not to exceed a twenty percent (20%) of the projections as set

forth in the Debtor’s Budget until July 31, 2023;

          4.        The Debtor is authorized to use cash collateral to pay the payroll in the ordinary

course of business, provided that no employee shall be paid pre-petition wages in excess of the

priority cap set forth in §507(a)(4) of the Bankruptcy Code, if there is such pre-petition wages;

          5.        As adequate protection for any cash collateral used, Sysco Baltimore, LLC and the

U.S. Small Business Administration are granted a security interest of the same priority and to the

same extent as its pre-petition security interests in the Collateral, and all profits, offspring and

proceeds of the Collateral hereafter acquired, to the extent of the Debtor’s use of such cash

collateral;

          6.        The security interest granted hereby shall become and are duly perfected without

the necessity for filing or execution of documents which might otherwise be required pursuant to

applicable non-bankruptcy law for the creation or perfection of such security interest, shall survive

the conversion of this case to a case under Chapter 7 of the Bankruptcy Code, and shall be binding

upon any subsequently appointed trustee and upon all creditors of the Debtor and its bankruptcy

estate;

          7.        Nothing contained herein shall be construed as a finding by this Court that Sysco

Baltimore, LLC and the U.S. Small Business Administration holds a lien or security interest in the

Collateral, or that any such lien or security interest is properly perfected, those issues all being

expressly reserved for later determination by this Court;




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        8.          Nothing in this Interim Order shall be construed as a waiver of any of Sysco

Baltimore, LLC and the U.S. Small Business Administration’s rights under any of its loan

documents or applicable law, or it and all rights and defenses of Sysco Baltimore, LLC and the

U.S. Small Business Administration with respect to any relief requested in any subsequent and/or

final motion for use of cash collateral;

        9.          In order to promote the administration of this bankruptcy estate a super priority lien

shall be created superior to Sysco Baltimore, LLC and the U.S. Small Business Administration

secured lien to pay the administrative claim of the Debtor’s professionals, the Chapter 11 Trustee

and U.S. Trustee’s fees;

        10.         Nothing contained herein shall preclude any party-in-interest from seeking

modification of this Order upon appropriate motion to this Court;

        11.         A final hearing on the Debtor’s use of cash collateral will be scheduled by this

Court; and

        12.         The Debtor shall email or mail a copy of this Order within two (2) business days

from the date of this Order to all parties in interest pursuant to the attached email and mailing

matrix and certify to this Court that such mailing has been made.



                                             END OF ORDER




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Sysco Baltimore, LLC
Atten: Jill Marshall, Credit Manager
P.O. Box 1009
8000 Dorsey Run Road
Jessup MD 20794-0000
Email: jill.marshall@sysco.com

U.S. Small Business Administration
2 North 20th Street, Suite 320
Birmingham, AL 35203
Email: Bham.legal@sba.gov

And by first class mail, postage pre-paid, to the Debtor’s 20 largest Creditors.




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